                                                                                                                          Case 3:23-cv-00093-MMD-CSD Document 36 Filed 07/16/24 Page 1 of 1



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                                                                                                                     2                             UNITED STATES DISTRICT COURT

                                                                                                                     3                                    DISTRICT OF NEVADA

                                                                                                                     4 DAVID S. GROSS,                              CASE NO. 3:23-cv-00093-MMD-CSD

                                                                                                                     5            Plaintiff,                        ORDER
                                                                                                                     6 v.

                                                                                                                      7 CHEMBIO DIAGNOSTICS, INC.;
                                                                                                                        KATHERINE L. DAVIS; JOHN G.
                                                                                                                      8 POTTHOFF; DAVID W.K. ACHESON;
                                                                                                                        DAVID W. BESPALKO; RICHARD L.
                                                                                                                      9 EBERLY; LESLIE TESO-LICHTMAN;
                                                                                                                        and LAWRENCE J. STEENVOORDEN,
                                                                                                                     10
                                                                                                                             Defendants.
                                                                                                                     11

                                                                                                                     12    ORDER GRANTING MOTION FOR EXTENSION OF TIME FOR DEFENDANTS TO
                                                                                                                                          RESPOND TO AMENDED COMPLAINT
                    1980 Festival Plaza Drive, Suite 900


                                                                                     702.471.7000 FAX 702.471.7070




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BALLARD SPAHR LLP

                                                           Las Vegas, Nevada 89135




                                                                                                                                  Before the Court is Defendants’ Motion for Extension of Time to Respond to
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                                                                                                                          Amended Complaint. Having reviewed the Motion, the Court finds that good cause
                                                                                                                     15
                                                                                                                          exists to grant Defendants’ Motion.
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                                                                                                                                  IT IS HEREBY ORDERED that Defendants’ Motion is granted; and
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                                                                                                                                  IT IS FURTHER ORDERED that Defendants shall have up to and including
                                                                                                                     18
                                                                                                                          August 9, 2024 to file any responsive pleading to the Amended Complaint.
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                                                                                                                     20           Dated: July 16, 2024.
                                                                                                                                                                            U.S. Magistrate Judge
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